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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                       NOTICE
                                 SENTENCE HEARING




       FOR THE HONORABLE BRUCE HOWE HENDRICKS
             UNITED STATES DISTRICT JUDGE
PLEASE TAKE NOTICE that the following defendants have been scheduled for Revocation
Hearing or Sentencing Hearing at the Clement F. Haynsworth Federal Building, 300 E. Washington
Street, Greenville, South Carolina, Courtroom 1, on:


                 Thursday, April 11, 2019 at 10:00A.M.
PLEASE CONTACT Fred Bostic, Courtroom Deputy, at (864.241.2750):
(1) for all questions regarding scheduling;
(2) and if you wish to meet with Judge Hendricks prior to Sentencing and do not have a
previously scheduled meeting. Do not come to chambers without first contacting Fred.
                                               At the direction of the Court
                                                  ROBIN L. BLUME, CLERK
                                                  U.S. DISTRICT COURT
________________________________________________________________________

6:17-93-3                   Tyler James Durney                   Leesa Washington, AUSA
                            Surety                               Mark Moore, RET
                                                                 William Wilkins, RET

8:18-480-1                  Brandon Cory LeCroy                  William Waktins, AUSA
                            Custody                              Erica Soderdahl, AFPD

7:18-39-16                  Gonzalo Toribio-Gomez                Leesa Washington, AUSA
Interpreter                 Custody                              Steven Hisker, CJA

7:18-39-14                  Martha Zambrano Soriano              Leesa Washington, AUSA
Interpreter                 Custody                              Hanna R. Metcalfe, CJA
